AO 9] (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina

 

 

"United States of America

 

 

 

)
v. }

} Case No, 3:14-mj- &S &
)
{1} Roger Dale Frankiin and )
(2) Lisa Dawn Wentworth )

Defendants}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 2007 through 2014 in the county of Caidwell in the
Western District of North Carolina , the defendant(s) violated:
Code Section Offense Description

21 U.S.C. 841(a), 841 (b)(1})(A), 846 Conspiracy to possess with intent to distribute at ieast five hundred (500)
grams of a mixture and substance containing a detectable amount of
methamphetamine, a Schedule [| controlled substance.

This criminal complaint is based on these facts:

i Continued on the attached sheet.
f 4f V2
<f ¥ Complainant's signature

Ryan Powers, HSi Task Force Officer
Printed name and title

 

Sworn to before me and signed in my presence.

Date: 12/04/2014 eS J (Yt, 4
[ + Ce

Judge’s signature A ee

City and state: Charlotte, North Carolina U.S. Magistrate Judge David S. Cayer
Printed name and title

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ATTACHMENT A:
Affidavit in Support of Criminal Complaint and Arrest Warrants
for ROGER DALE FRANKLIN and LISA DAWN WENTWORTH

 

meen Ty Ryan Powers, Task Force Officer with thé United Statés Department of Homeland ~
Security, Homeland Security Investigations (HSI), being duly sworn and deposed, state as
follows:

BACKGROUNDAINTRODUCTION

1. Your Affiant is employed with the Mooresville Police Department in Mooresville,
North Carolina. I am currently assigned full time to HSI. I have approximately seventeen (17)
years of sworn law enforcement experience in the State of North Carolina. I began my law
enforcement career in December 1995 with Iredell County Sheriff's Office, and worked as both a
road deputy and jailer while employed there. In October 1996, I began working with
Mooresville Police Department, where I have worked several different assignments, including
Road Patrol and Special Enforcement Division, K-9 Handler for ten (10) years, and a member of
the SWAT Team for approximately five (5) years. I am currently assigned to the Vice/Narcotics
Unit.

2. My formal education consists of an Associates of Applied Science Degree from
Mitchell Community College in Statesville in Criminal Justice Technology. I hold an Advanced
Certificate from The North Carolina Justice Training and Standards Commission. I have
successfully completed over 2,300 hours of training from the North Carolina Justice Academy,
and have also completed training provided by U.S. Drug Enforcement Administration and U.S.
Department of Homeland Security Immigration and Customs Enforcement. I attended Title 19
Cross-Designation training with the U.S. Department of Homeland Security Immigration and

Customs Enforcement, including Highway Interdiction, Drug Interdiction, Hotel & Motel

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Interdiction, K-9 Handler Certification, Advanced K-9 Handler Certification, Sources of

Information, Drug Identification, SWAT Tactics for Patrol Officers, Basic SWAT,

 

 

Counterterrorism, Hidden Compartments Seminar, High Risk Apprehension and Interview and ~~

Interrogation. I have also received extensive training through the North Carolina Narcotics
Enforcement Officers Association and the Organized Crime Drug Enforcement Task Force.

3. As a result of my personal participation in the investigation of matters referred to in
this Affidavit, and based upon reports made to me by other law enforcement officials, I am
familiar with the facts and circumstances of this investigation. The information contained in this
Affidavit is provided for the limited purpose of establishing probable cause in support of a
criminal complaint and arrest warrants for Defendants Roger Dale FRANKLIN and Lisa Dawn
WENTWORTH; therefore, I have not included each and every fact known to me concerning
this investigation.

SYNOPSIS OF INVESTIGATION

4. The investigation has revealed that, from in or about 2007 to in or about 2014,
Defendant Roger Dale FRANKLIN, was involved in a conspiracy — that is, a criminal
agreement with others — including Defendant Lisa Dawn WENTWORTH from in or about
2013, in Caldwell County, within the Western District of North Carolina, and clsewhere, to
distribute and to possess with intent to distribute methamphetamine.

5. On August 19, 2013, law enforcement in Lenoir, North Carolina, conducted a traffic
stop of Defendants FRANKLIN (passenger) and WENTWORTH (driver). Law enforcement
smelled alcohol coming from the vehicle. WENTWORTH said that, although she had not been
drinking, FRANKLIN had been doing so. WENTWORTH directed law enforcement’s attention

to a fully-loaded Interarms .38 special revolver in the center consolee WENTWORTH went to

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reach for her pocket, where law enforcement found methamphetamine in a plastic baggie. They

also found a methamphetamine pipe in her pocketbook. When law enforcement conducted a

 

~~ safety pat-down of FRANKLIN, they found a knife’ As law enforcement accompanied him to ~~

the side of the road to permit him to urinate, FRANKLIN tried to discard several more baggies
with methamphetamine, like the one in WENTWORTH’s possession. Upon searching
FRANKLIN, law enforcement found approximately $4,038 in cash in his cargo shorts. In total,
law enforcement seized approximately 12.5 grams of methamphetamine from FRANKLIN and
WENTWORTH.

6, On September 3, 2013, law enforcement in Caldwell County conducted an undercover
operation and seized 3 grams of methamphetamine from Defendant FRANKLIN.

7. On November 20, 2013, law enforcement in Caldwell County conducted a traffic stop
of Defendant FRANKLIN with driving with another individual despite having his license
revoked. He consented to a search of the vehicle, which resulted in the seizure of approximately
15 grams of methamphetamine and approximately $1,175 in cash.

8. On several dates in June 2014, law enforcement in Caldwell County utilized
confidential informants to purchase small amounts methamphetamine from WENTWORTH.

9. Defendant WENTWORTH has provided a voluntary and admissible statement to law
enforcement officials in which she admitted that, in total, she had trafficked in more than 1,400
grams,

10. With regard to Defendant FRANKLIN, at least three cooperating defendants and
informants, whose information has been corroborated and whom have been deemed credible and
reliable, have stated the following with regard to Defendant FRANKLIN’s methamphetamine

trafficking:

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a, One cooperator stated that during 2013, he bought methamphetamine from

Defendant FRANKLIN, whom he took to Marion, North Carolina, and other

 

b. Another cooperator stated that she dealt methamphetamine with Defendant
FRANKLIN for a total of more than 1,400 grams.

c. A third cooperator, who worked for Defendant FRANKLIN and collected drug
debts for him, stated that FRANKLIN obtained a minimum of 2,800 grams
methamphetamine for trafficking since 2007,

11. Defendant FRANKLIN is a convicted felon (Class G felony from 9/24/1996) and was

thus prohibited from possessing a firearm on August 19, 2013,

CONCLUSION ©

Based upon training, experience, and the facts of this investigation, ] submit that there is
probable cause for a criminal complaint against, and arrest warrants for, Defendants Reger Dale
FRANKLIN and Lisa Dawn WENTWORTH, for conspiracy to possess with intent to
distribute at least five hundred (500) grams of methamphetamine, in violation of Title 21, United
States Code, Sections 841(a), 841(b)(1)(A), 846; therefore, I request that the Court issue the

same,

LMM

AFFIANT, TASK FORCE OFFICER RYAN POWERS
HOMELAND SECURITY INVESTIGATIONS

AUSA Steven R. Kaufman has reviewed this Affidavit.

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Subscribed and sworn to by me this 4 day of December 2014,

 

 

aT

THE HONORABLE DAVID & CAYER
UNITED STATES MAGISTRATE JUDGE

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